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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Paddy Kalish,                                    :
                                                 :
                        Plaintiff,               :
       v.                                        :
                                                   Civil Action No.: 1:10-cv-12231
                                                 :
Diversified Collection Services, Inc.; and       :
DOES 1-10, inclusive,                            :
                                                 :
                                                 :
                        Defendants.              :

                                     NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: April 25, 2011

                                                  Respectfully submitted,

                                                  PLAINTIFF, Paddy Kalish

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2011, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sergei Lemberg_________

                                                     Sergei Lemberg
